               Case
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CJ R\G\1'Jil\ L
     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - -X
     FEDERAL TRADE COMMISSION and                                 Case No . 1: 17-cv-00124-LLS

     THE PEOPLE OF THE STA TE OF NEW YORK, by
     ERIC T. SCHNEIDERMAN,
     Attorney General of the State of New York,

                                     Plaintiffs,                 4ifrt M@el] ORDER GRANTING
                                                                  MOTION TO WITHDRAW
                          V.                                      AS AN ATTORNEY
                                                                  PRO HAC VICE.
      QUINCY BIOSCIENCE HOLDING
      COMPANY, INC., a corporation;
                                                                         ,, r~ric SD~ (             .. .              l1
      QUINCY BIOSCIENCE, LLC, a limited
      liability company;                                                 ,: j , .. !
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                                                                                1   :

      PREY AGEN, INC ., a corporation
      d/b/a/ SUGAR RIVER SUPPLEMENTS;
                                                                             DAT[ FILED:                   11.J;li~
      QUINCY BIOSCIENCE
      MANUFACTURING, LLC, a limited liability company;

      MARK UNDERWOOD, individually and as
      an officer of QUINCY BIOSCIENCE
      HOLDING COMPANY, INC., QUINCY
      BIOSCIENCE, LLC, and PREYAGEN,
      INC.,

                                     Defendants

      - - - - - - - - - - - - - - - - - - -X


         The motion of Bryan L. Mosca, for Withdrawal of admission to practice Pro Hae Vice in the

      above captioned action is granted.

         Bryan L. Mosca has declared that he is a member in good standing of the bars of the state of

      Maryland and the District of Columbia; and that he is leaving the law firm of Cozen O'Connor

      effective February 25, 2022.



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         Case
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 Bryan L. Mosca requested the Withdrawal of his admission Pro Hae Vice to appear for all

purposes as counsel for Defendant Mark Underwood Individually, Defendant Mark Underwood

as an officer of Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC and

Prevagen, Inc.; and Defendant Michael Beaman, Individually, Defendant Michael Beaman as an

officer of Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC and Prevagen, Inc

in the above captioned action.

   IT IS HEREBY ORDERED that the Withdrawal of Bryan L. Mosca' s admission to practice

Pro Hae Vice in the above captioned case in the United States District Court for the Southern

District of New York is Granted.




         lk~-
Dated: ~ y          _i__, 2022
                                            United States District Judge




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